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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION

Logan Saunders,                                                    3:23-cv-02413-SAL
                                                  Civil Action No. _________________

                                   Plaintiff,
                vs.
                                                                Notice of Removal
Beta Upsilon Chi Fraternity, Inc., a/k/a Beta       by Defendant Beta Upsilon Chi Fraternity, Inc.
Upsilon Chi, Michael Vinzani, Graham
Harmon, and Walker Wood,

                               Defendants.


       Defendant Beta Upsilon Chi Fraternity, Inc. a/k/a Beta Upsilon Chi (the “Fraternity

Corporation”) removes this action from the South Carolina Court of Appeals and the Fifth Judicial

Circuit Court of Common Pleas in Richland County, South Carolina, to the United States District

Court for the District of South Carolina under 28 U.S.C. §§ 1332, 1367(a), 1441, and 1446.1 The

Fraternity Corporation denies the allegations of the Complaint and files this Notice without

waiving any defenses, motions, exceptions, or rights that may exist in its favor in any court.

                                      Grounds for Removal

I.     The procedural requirements for removal have been satisfied.

       A.      This Notice of Removal is timely filed.

       Although Plaintiff Logan Saunders filed his Summons and Complaint in civil action

number 2021-CP-40-03542 with the Fifth Judicial Circuit Court of Common Pleas on July 15,

2021, Plaintiff failed to serve the Fraternity Corporation with process of the lawsuit within the




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  This division is the proper division for removal because the state court action was filed in
Richland County, South Carolina. 28 U.S.C. § 1446(a). Although the Fraternity Corporation
maintains the case does not present a permissible interlocutory appeal, this case is currently
pending in the South Carolina Court of Appeals, a “State court” under 28 U.S.C. § 1441(a).


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120-day time period required by South Carolina law and court rule. S.C. Code Ann. § 15-3-20

(setting 120-day deadline for service of process); Rule 3, SCRCP (same). As a result, Plaintiff did

not commence his lawsuit when he filed it with the Clerk in July 2021.

       Because of Plaintiff’s delay in service of process, the Fraternity Corporation files this

Notice of Removal within thirty days of the Court’s order adjudicating service, making it timely

under 28 U.S.C. § 1446(b)(2). See Murphy Brothers, Inc. v. Michetti Pipe Stringing, Inc., 526

U.S. 344, 348 (1999). For similar reasons, then, the one-year time bar for removal of diversity

actions does not apply. 28 U.S.C. § 1446(c)(1) (prohibiting removal “more than 1 year after

commencement of the action[.]” (emphasis added)); Wilder v. Izuzu Inc., No. 3:06–1103–CMC,

2006 WL 1488836, at *1 (May 24, 2006) (citing Walker v. Armco Steel Corp., 446 U.S. 740

(1980)) (holding that under diversity jurisdiction, “claims pursued in federal court are subject both

to the state’s relevant statute of limitations and to the state’s corresponding rules regarding

commencement of an action.”); cf. Lovern v. General Motors Corp., 121 F.3d 160 (4th Cir. 1997)

(noting that one-year removal deadline runs from commencement).

       B.      The Fraternity Corporation has complied with the removal requirements.

       The Fraternity Corporation files true and correct copies of the Complaint and all process,

pleadings, and other materials filed by Plaintiff with the Circuit Court and the Court of Appeals as

Exhibit 1 and Exhibit 2, respectively. Additionally, the Fraternity Corporation is providing

written notice of this removal to Plaintiff and the state courts under 28 U.S.C. § 1446(d). Thus,

the Fraternity Corporation has timely complied with the procedural requirements for removal.

II.    The Court has diversity jurisdiction over Plaintiff’s claims.

       This action is within the original jurisdiction of the United States District Court for the

District of South Carolina based on diversity of citizenship under 28 U.S.C. § 1332(a)(1). This




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section provides district courts with “original jurisdiction of all civil actions where the matter in

controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is between .

. . citizens of different States.” 28 U.S.C. § 1332(a)(1).

       A.      The properly joined and served parties are completely diverse.

       Removal under 28 U.S.C. §§ 1332, 1441, and 1446 is appropriate because the properly

joined and served parties are completely diverse. Plaintiff is a citizen and resident of Greenville

County, South Carolina. (Compl. ¶ 2.) The Fraternity Corporation is organized in the State of

Texas with its principal place of business in Texas. The Fraternity Corporation is not a citizen of

South Carolina, so the parties are completely diverse. Trans Energy, Inc. v. EQT Prod. Co., 743

F.3d 895, 901 (4th Cir. 2014) (citing Gen. Tech. Applications, Inc. v. Exro Ltda, 388 F.3d 114,

120 (4th Cir. 2004)). So these two parties are completely diverse.

       B.      The remaining defendants have been fraudulently joined.

       The remaining defendants, Michael Vinzani, Graham Harmon, and Walker Wood

(“Individual Defendants”), are fraudulently joined in this action. Johnson v. Am. Towers, LLC,

781 F.3d 693, 704 (4th Cir. 2015) (quoting Mayes v. Rapoport, 198 F.3d 457, 461 (4th Cir. 1999)).

In the nearly two years since Plaintiff filed his case, he has not served Individual Defendants with

process, and no viable action against them exists. See S.C. Code Ann. §§ 15-3-530(5), 15-3-550

(setting applicable statutes of limitation); see also S.C. Code Ann. § 15-3-20 (setting 120-day

deadline for service of process); Rule 3, SCRCP (same). Therefore, Plaintiff’s naming of the

Individual Defendants does not destroy diversity. Johnson, 781 F.3d at 704 (quoting Hartley v.

CSX Transp., Inc., 187 F.3d 422, 424 (4th Cir. 1999)). Nor does the forum-defendant rule bar

removal. 28 U.S.C. § 1441(b)(2) (“A civil action otherwise removable solely on the basis of

[diversity jurisdiction] may not be removed if any of the parties in interest properly joined and




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served as defendants is a citizen of the State in which such action is brought.”); see also Goodwin

v. Reynolds, 757 F.3d 1216, 1221 (11th Cir. 2014) (explaining that rule “has been interpreted as

an effort to prevent gamesmanship by plaintiffs from joining forum defendants merely to preclude

federal jurisdiction.”). Therefore, complete diversity of the properly joined and served parties

exists in this case.

        C.      The amount in controversy exceeds $75,000.

        In the Fourth Circuit, “the test for determining the amount in controversy in a diversity

proceeding is ‘the pecuniary result to either party which [a] judgment would produce.’” Dixon v.

Edwards, 290 F.3d 699, 710 (4th Cir. 2002) (alteration in original) (quoting Gov’t Employees Ins.

Co. v. Lally, 327 F.2d 568, 569 (4th Cir. 1964)). The Court may determine the amount in

controversy based upon the allegations of the complaint and other relevant material in the record.

Stewart v. AT & T Mobility LLC, No. 3:10-3083-CMC, 2011 WL 3626654, at *2 (D.S.C. July 21,

2011) (explaining that for a diversity jurisdiction analysis, the court may consider “the complaint

and any amendments thereto, the notice of removal filed with a federal court, and other relevant

materials in the record”). The Court’s determination as to the amount in controversy must also

include consideration of any requests for punitive damages and/or attorneys’ fees made by the

Plaintiff. See Mattison v. Wal-Mart Stores, Inc., No. 6:10-CV-01739-JMC, 2011 WL 494395, at

*3 (D.S.C. Feb. 4, 2011); Phillips v. Whirlpool Corp., 351 F. Supp. 2d 458, 462 (D.S.C. 2005)

(“[W]here statutory provisions authorize the recovery of attorneys’ fees, those fees may be

included as part of the amount in controversy”). And the Court must also consider any requests

for injunctive relief. See Hunt v. Wash. State Apple Advertising Comm’n, 432 U.S. 333, 347

(1977). When the aggregate damages a party may recover exceed $75,000, the amount-in-

controversy requirement for diversity jurisdiction is satisfied. See 28 U.S.C. § 1332(a).




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       Although the Fraternity Corporation disputes Plaintiff’s entitlement to any relief, the

amount in controversy requirement has been met based on the damages Plaintiff seeks in the

Complaint. First, Plaintiff alleges that he has incurred “incidental, consequential and special and

punitive damages, which include but are not limited to, harm in the form of actual and future

damage to Plaintiff’s reputation and goodwill, loss of time, damage to relationships and personal

reputation, emotional harm and distress.” (Compl. ¶¶ 76, 42, 59; Compl. at 15 (“WHEREFORE”

clause).) Although he does not put a specific value on these damages in the Complaint, he does

refer to judgments he obtained against two individuals who accused him of sexual assault, arguing

that the Fraternity Corporation’s liability and damages is somehow compelled based on those

judgments. (Compl. ¶¶ 54, 84–86.) Indeed, Plaintiff even alleges that his “likelihood of success

on these claims is also established by the judgments obtained in Case No. 2019-CP-40-06183 as

against Plaintiff’s accusers.” (Id. ¶ 88.) As public court records show, those judgments resulted

from Rule 68 offers of judgment made by Plaintiff for a combined $85,000, which were timely

accepted and satisfied. (See Exhibit 3, Excerpted State Court Judgment Records, Saunders v.

Wallace, No. 2019-CP-40-06183.)2 These combined amounts exceed the jurisdictional threshold.

       Second, Plaintiff seeks punitive damages and attorneys’ fees. (Compl. ¶¶ 58, 76; Compl.

at 15 (“WHEREFORE” clause).) These damages must also be considered in determining the

amount in controversy. See Mattison, 2011 WL 494395, at *3 (holding that court must consider

request for punitive damages and attorneys’ fees in calculating the amount in controversy). This

“claim for punitive damages alone makes it virtually impossible to say that the claim is for less



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  The Court may properly consider these records in determining the amount in controversy.
Stewart v. AT & T Mobility LLC, No. 3:10-3083-CMC, 2011 WL 3626654, at *2 (D.S.C. July 21,
2011). In any event, Plaintiff is in no place to complain about considering these documents as he
relies on the judgments in his Complaint, and filed many of the documents through his counsel.
The Court may also take judicial notice of these records. Fed. R. Evid. 201.


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than the jurisdictional amount.” Woodward v. Newcourt Commercial Fin. Corp., 60 F. Supp. 2d

530, 532 (D.S.C. 1999). On the relief in the form of attorneys’ fees, even assuming a modest rate

of $400/hour, if Plaintiff’s counsel spends only 80 hours to litigate this case through judgement,

the total lodestar would equal to roughly half of the jurisdictional amount alone. See Liberty Mut.

Ins. Co. v. Employee Res. Mgmt., Inc., 176 F. Supp. 2d 510, 532 (D.S.C. 2001) (applying lodestar

method to determine attorneys’ fees under diversity jurisdiction).

        Third, Plaintiff’s request for injunctive relief also confirms that the amount-in-controversy

requirement has been satisfied here. “In actions seeking declaratory or injunctive relief, it is well

established that the amount in controversy is measured by the value of the object of the litigation.”

Hunt v. Washington State Apple Advert. Comm’n, 432 U.S. 333, 347 (1977). On this point,

Plaintiff claims to have suffered “severe, extensive, and irreparable damage to the Plaintiff’s

reputation[.]” (Compl. ¶ 59.) Surely, then, the value that Plaintiff would receive from enjoining

such damage would exceed the jurisdictional threshold, especially when combined with the other

relief Plaintiff seeks.

        Combined, the “the pecuniary result” to Plaintiff that any “judgment would produce”

would exceed the amount in controversy required by 28 U.S.C. § 1332(a). Dixon, 290 F.3d at 710.

Therefore, the court has diversity jurisdiction over Plaintiff’s claims under 28 U.S.C. § 1332.

III.    The Court has supplemental jurisdiction over Plaintiff’s remaining claims.

        This action is also within the original jurisdiction of the United States District Court for

the District of South Carolina based on supplemental jurisdiction under 28 U.S.C. § 1367(a). This

section provides district courts with “supplemental jurisdiction over all other claims that are so

related to claims in the action within such original jurisdiction that they form part of the same case

or controversy under Article III of the United States Constitution.” 28 U.S.C. § 1332(a)(1). Claims




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arising out of the same case or controversy are those “deriv[ing] from a common nucleus of

operative fact.” See Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 588 (2005)

(alteration in original) (quoting United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 725 (1966)).

       All of Plaintiff’s claims arise out of their dispute with the Fraternity Corporation about the

alleged defamation and the Fraternity Corporation’s investigation into those statements. Plaintiff’s

complaint uses the same factual allegations about the events from 2017–18, (see Compl. ¶¶ 8–42),

to support all of his claims by incorporating those allegations by reference, (see id. ¶¶ 49, 66, 83).

Likewise, Plaintiff includes the same allegations about damages, (Compl. ¶¶ 1, 42), and prayer for

relief for his claims, (Compl. at 15). Thus, the Court has supplemental jurisdiction over any claim

over which it does not otherwise have diversity jurisdiction.

IV.    Request for briefing and oral argument.

       If any question arises as to the propriety of the removal of this matter, the Fraternity

Corporation requests the opportunity to present briefs, oral argument, and if necessary, affidavits

and other evidence in support of its position that removal is proper. See Dart Cherokee Basin

Operating Co., LLC v. Owens, 574 U.S. 81, 88–89 (2014); Ellenburg v. Spartan Motors Chassis,

Inc., 519 F.3d 192, 199 (4th Cir. 2008).

                                            Conclusion

       For the reasons set forth above, the Fraternity Corporation removes this matter from the

South Carolina Court Appeals and the Court of Common Pleas for the Fifth Judicial Circuit in

Richland County, South Carolina to the United States District Court for the District of South

Carolina, Columbia Division under 28 U.S.C. §§ 1332, 1367, 1441, and 1446.




                                   [Signature on following page.]



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